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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

UNITED STATES OF AMERICA                  .          Criminal No. 1:10cr485
                                          .
        vs.                               .          Alexandria, Virginia
                                          .          January 21, 2015
JEFFREY ALEXANDER STERLING,               .          1:55 p.m.
                                          .
                      Defendant.          .          EXCERPT OF P.M. SESSION
                                          .
.   .   .     .   .   .   .   .   .   .   .

                          TRANSCRIPT OF JURY TRIAL
                  BEFORE THE HONORABLE LEONIE M. BRINKEMA
                        UNITED STATES DISTRICT JUDGE

APPEARANCES:

FOR THE GOVERNMENT:                       JAMES L. TRUMP, AUSA
                                          DENNIS M. FITZPATRICK, AUSA
                                          United States Attorney's Office
                                          2100 Jamieson Avenue
                                          Alexandria, VA 22314
                                            and
                                          ERIC G. OLSHAN, Deputy Chief
                                          Public Integrity Section of the
                                          Criminal Division
                                          United States Department of
                                          Justice
                                          1400 New York Avenue, N.W.
                                          Suite 12100
                                          Washington, D.C. 20005

FOR THE DEFENDANT:                        EDWARD B. MAC MAHON, JR., ESQ.
                                          Law Office of Edward B.
                                          MacMahon, Jr.
                                          107 East Washington Street
                                          P.O. Box 25
                                          Middleburg, VA 20118
                                            and
                                          BARRY J. POLLACK, ESQ.
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            COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES



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 1   APPEARANCES:    (Cont'd.)

 2   CLASSIFIED INFORMATION      CHRISTINE E. GUNNING
     SECURITY OFFICERS:          MAURA PETERSON
 3

 4   ALSO PRESENT:               GERARD FRANCISCO
                                 SA ASHLEY HUNT
 5                               JENNIFER MULLIN, ESQ.

 6
     OFFICIAL COURT REPORTER:    ANNELIESE J. THOMSON, RDR, CRR
 7                               U.S. District Court, Fifth Floor
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 8                               Alexandria, VA 22314
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 1                          I N D E X

 2                          DIRECT    CROSS     REDIRECT       RECROSS

 3   WITNESS ON BEHALF OF
     THE GOVERNMENT:
 4
     SA Ashley K. Hunt                                4
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 1                    A F T E R N O O N            S E S S I O N

 2                                   (Defendant and Jury present.)

 3               *            *           *                *              *

 4        SPECIAL AGENT ASHLEY K. HUNT, GOVERNMENT'S WITNESS,

 5                        PREVIOUSLY AFFIRMED, RESUMED

 6               *            *           *                *              *

 7               THE COURT:       All right.      Redirect, Mr. Olshan?

 8               MR. OLSHAN:       Yes, Your Honor.

 9                                REDIRECT EXAMINATION

10   BY MR. OLSHAN:

11   Q.   Special Agent Hunt, Mr. MacMahon asked you some questions

12   about phone records.         Do you recall those?

13   A.   Yes.

14   Q.   Did you obtain phone records for Vicki Divoll?

15   A.   I did.

16   Q.   And did those reflect any communications between

17   Ms. Divoll and Mr. Risen?

18   A.   They did not.

19   Q.   And what about phone records for Merlin?                   Did you obtain

20   any of those phone records?

21   A.   I did.

22   Q.   What did they reflect about communications with Mr. Risen?

23   A.   They reflected no contact between Merlin and James Risen.

24   Q.   Mr. MacMahon asked you about Mr. S. and his

25   characterization in the book.         Do you recall those questions?




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 1   A.   Yes.

 2   Q.   And in the book, is he referred to as the senior case

 3   officer or the senior CIA officer?

 4   A.   Or perhaps official, something like that.

 5   Q.   But he is referenced in the book?

 6   A.   Yes.

 7   Q.   Do any of Mr. S.'s -- does language from any of Mr. S.'s

 8   PARs show up in chapter 9?

 9   A.   No.

10   Q.   How many articles did James Risen write about Mr. S.,

11   newspaper articles?

12   A.   One.

13   Q.   What was that?   About Mr. S.

14   A.   I'm sorry, about --

15               MR. MAC MAHON:   They're confusing Mr. S.'s, Your

16   Honor.

17               THE WITNESS:   Yes.   I'm sorry.       No, I'm sorry.

18   BY MR. OLSHAN:

19   Q.   How many newspaper articles?

20   A.   Are we talking about Bob S.?

21   Q.   Yes.

22   A.   He wrote no articles about Bob S.

23   Q.   Thank you.

24               You testified that you had written that SSCI as an

25   organization was not cooperative at first.            Is that correct?




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 1   A.   That's correct.

 2   Q.   Was Vicki Divoll cooperative during the course of your

 3   investigation?

 4   A.   Yes.

 5   Q.   What about Don Stone?

 6   A.   Yes.

 7   Q.   Special Agent Hunt, when you investigate a case, do you

 8   consider motive?

 9   A.   I do.

10   Q.   How important is motive evidence in your investigation?

11                MR. MAC MAHON:   Your Honor, objection to testimony as

12   to her theory of motive.

13                MR. OLSHAN:    Your Honor, the defense put the

14   thoroughness of this investigation at issue.              The witness

15   should be able to describe why it is that she focused her

16   direction a particular way.

17                THE COURT:    I'll permit it.     I believe the door was

18   opened.   Overruled.

19   BY MR. OLSHAN:

20   Q.   My question, Special Agent Hunt, was how important is

21   motive evidence when you conduct a criminal investigation?

22   A.   It is very important.

23   Q.   Did you obtain evidence that you believed provided --

24   presented a motive for somebody to disclose information to

25   Mr. Risen during the course of this investigation?




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 1   A.   Yes.

 2   Q.   And who did that evidence involve?

 3   A.   Jeffrey Sterling.

 4   Q.   Has Robert S. ever sued the CIA?

 5   A.   No.

 6   Q.   Merlin ever sued the CIA?

 7   A.   No.

 8   Q.   When you initiated the investigation, I believe you

 9   testified it was in April of 2003?

10   A.   That's correct.

11   Q.   At the time when you initiated your investigation

12   concerning unauthorized disclosure of classified information to

13   James Risen, did you learn any information regarding Mark Zaid

14   and Mr. Krieger that, that directed your investigation?

15   A.   I did.

16               MR. MAC MAHON:   Your Honor, objection.            That door was

17   not opened as to Mr. Sterling's prior lawyers.

18               MR. OLSHAN:    Your Honor, this is about why --

19               THE COURT:    Again, the scope of the investigation,

20   what was done and not done, was clearly part of the cross.                   I'm

21   going to allow it, excuse me, on redirect; and if there needs

22   to be recross on that, you'll be allowed to.             Go ahead.

23               MR. MAC MAHON:   Thank you, Your Honor.

24   BY MR. OLSHAN:

25   Q.   What did you learn at the outset of your investigation




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 1   about information from Mr. Krieger and Zaid that helped you

 2   direct your investigation and focus it?

 3   A.   When I opened my investigation on April 8, 2003, my

 4   investigation was based on a report I received from the CIA

 5   dated April 7, 2003.       In that report, the CIA provided

 6   information about the fact --

 7                MR. MAC MAHON:    Your Honor, that's hearsay.

 8                THE COURT:    Wait.

 9                MR. OLSHAN:    Your Honor, this is not for the truth.

10   It's why she took the actions.

11                THE COURT:    It explains why she is acting, takes the

12   investigative tacks that she does, so I'm going to overrule the

13   objection.    It's not hearsay.

14   BY MR. OLSHAN:

15   Q.   You may continue, Special Agent Hunt.

16   A.   The CIA advised that on February 24, 2003, it was

17   contacted by Mark Zaid and Roy Krieger.           They told the CIA on

18   February 24 that a client of theirs had contacted them on

19   February 21, 2003, and that that client, that unnamed client at

20   the time voiced his concerns about an operation that was

21   nuclear in nature, and he threatened to go to the media.

22   Q.   Did you later learn who that client was from Mr. Zaid and

23   Mr. Krieger in the course of your investigation?

24   A.   I did.

25   Q.   Did those facts help you focus the direction of your




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 1   investigation?

 2   A.   They did.

 3   Q.   And who did you learn was the client of Mr. Krieger and

 4   Mr. Zaid?

 5   A.   Jeffrey Sterling.

 6   Q.   You testified that you have read the chapter a number of

 7   times; is that correct?

 8   A.   Yes.

 9   Q.   Which person in your opinion, which person received the

10   most favorable treatment as written in chapter 9?

11                MR. MAC MAHON:   Your Honor, that's --

12                THE COURT:    All right, now I think that's going

13   beyond the scope of proper cross -- proper redirect.

14                MR. OLSHAN:    If it's relevant to the investigation,

15   Your Honor.

16                THE COURT:    Well, then ask the question in a

17   different way.

18   BY MR. OLSHAN:

19   Q.   Was the characterization of certain individuals in chapter

20   9 relevant to your investigation and how you conducted it after

21   the book was published in 2006?

22   A.   Yes, it was.

23   Q.   And which character in the book is referenced most

24   favorably?

25   A.   The case officer who was handling the Merlin asset.




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 1   Q.   And who was that in reality?

 2   A.   Jeffrey Sterling.

 3   Q.   Chapter 9 also references two specific events:               the trip

 4   to Vienna and the San Francisco meeting.          Do you recall those?

 5   A.   I do.

 6   Q.   Relative to Mr. Sterling's time as the case officer, did

 7   those events -- strike that.

 8                Where do those events fall relative to Mr. Sterling's

 9   time as the case officer for Merlin?

10   A.   The San Francisco meeting occurred at the beginning of

11   Jeffrey Sterling's time as the case officer for this asset and

12   operation, and the operation carried out in Vienna in

13   February-March of 2000 falls toward the end of his time as the

14   case officer.

15   Q.   The fact about the Sonoma trip, in the course of your

16   investigation, did you determine whether that was known to

17   Mr. Sterling?

18   A.   It was.

19   Q.   And the fact about the postman in Vienna, was that known

20   to Mr. Sterling?

21   A.   It was.

22   Q.   Did those facts and the additional details about the San

23   Francisco meeting and the Vienna trip influence the direction

24   of your investigation?

25   A.   Yes.




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 1               MR. OLSHAN:       May I have a moment, Your Honor?

 2               THE COURT:       Yes, sir.

 3   BY MR. OLSHAN:

 4   Q.   You testified that you obtained phone records from

 5   Mr. Stone; is that correct?

 6   A.   Yes.

 7   Q.   Were those phone records for his personal phone numbers or

 8   his Senate phone numbers or both?

 9   A.   I tried to obtain records for all of the numbers, both

10   his, his residence and his number at the Senate.                    I'm not sure

11   that -- well, I collected some of those records in 2003 and

12   some of them later.

13   Q.   When you testified that SSCI was not cooperative as an

14   organization, did that include the lawyers for the Senate not

15   being cooperative?

16   A.   Yes.

17               MR. OLSHAN:       That's all.

18               *            *           *                *              *

19

20                        CERTIFICATE OF THE REPORTER

21        I certify that the foregoing is a correct excerpt of the

22   record of proceedings in the above-entitled matter.

23

24

25                                                        /s/__
                                                   Anneliese J. Thomson



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